               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION

Jose Juan Maysonet, Jr.,                  Case No. 18 C 2342

              Plaintiff,                  Hon. Mary M. Rowland,
                                          District Judge
              v.

Reynaldo Guevara et al.,                  Non-Party Alfredo Gonzalez’s
                                          Motion to Quash Subpoena
              Defendants.




                                 NOTICE OF MOTION


To:   Counsel of Record


      Please take notice that on Tuesday, January 7, 2020 at 9:45 a.m., counsel for
non-party Alfredo Gonzalez shall appear before Judge Rowland in the courtroom
usually occupied by her at 219 South Dearborn St., Chicago, Illinois, and then and
there present Non-Party Alfredo Gonzalez’s Motion to Quash Subpoena.


                                      RESPECTFULLY SUBMITTED:
                                       /s/ John Hazinski
                                      Attorney for Alfredo Gonzalez


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                           CERTIFICATE OF SERVICE

      The undersigned, an attorney, certify that on December 20, 2019, I served

the foregoing on all counsel of record via the CM/ECF system, which will send a

notice of electronic filing to all counsel of record.



                                                        /s/ John Hazinski
                                                         Attorney for Alfredo Gonzalez
